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 7                       UNITED STATES DISTRICT COURT
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                        CENTRAL DISTRICT OF CALIFORNIA
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11     FEDERAL TRADE COMMISSION,                  Case No. 2:18-cv-09573-JFW (JPRx)
12
                               Plaintiff,         STIPULATED ORDER FOR
13
                   v.                             PERMANENT INJUNCTION
14                                                AND MONETARY JUDGMENT
15
       APEX CAPITAL GROUP, LLC, et al.,

16                             Defendants.
17
18         On November 13, 2018, Plaintiff, the Federal Trade Commission
19   (“Commission” or “FTC”), filed its Complaint for Permanent Injunction and Other
20   Equitable Relief in this matter, subsequently amended as First Amended Complaint
21   for Permanent Injunction and Other Equitable Relief, (as amended, “Complaint”),
22   pursuant to Sections 13(b) and 19 of the Federal Trade Commission Act (“FTC
23   Act”), 15 U.S.C. §§ 53(b) and 57b, the Restore Online Shoppers’ Confidence Act
24   (“ROSCA”), 15 U.S.C. § 8404, and Section 918(c) of the Electronic Fund Transfer
25   Act (“EFTA”), 15 U.S.C. § 1693o(c). The Commission and Defendants Phillip
26   Peikos, Apex Capital Group, LLC, Capstone Capital Solutions Limited, Clik Trix
27   Limited, Empire Partners Limited, Interzoom Capital Limited, Lead Blast Limited,
28   Mountain Venture Solutions Limited, Nutra Global Limited, Omni Group Limited,

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 1   Rendezvous IT Limited, Sky Blue Media Limited, and Tactic Solutions Limited
 2   stipulate to the entry of this [Proposed] Stipulated Order for Permanent Injunction
 3   and Monetary Judgment to resolve all matters in dispute in this action between
 4   them.
 5           THEREFORE, IT IS ORDERED as follows:
 6                                        FINDINGS
 7           1.    This Court has jurisdiction over this matter.
 8           2.    The Complaint charges that Settling Defendants participated in
 9   deceptive and unfair acts or practices in violation of Section 5 of the FTC Act, 15
10   U.S.C. § 45, Section 4 of ROSCA, 15 U.S.C. § 8403, and Section 907(a) of EFTA,
11   15 U.S.C. § 1693e(a) and Section 1005.10(b) of Regulation E, 12 C.F.R.
12   § 1005.10(b), in connection with the unfair and deceptive advertising, marketing,
13   promotion, or sale of certain dietary supplements, skin creams, and other products
14   or services through a Negative Option Feature.
15           3.    Settling Defendants neither admit nor deny any of the allegations in
16   the Complaint, except as specifically stated in this Order. Only for purposes of this
17   action, Defendants admit the facts necessary to establish jurisdiction.
18           4.    Settling Defendants waive any claim that they may have under the
19   Equal Access to Justice Act, 28 U.S.C. § 2412, concerning the prosecution of this
20   action through the date of this Order, and agree to bear their own costs and
21   attorney fees.
22           5.    Settling Defendants and the Commission waive all rights to appeal or
23   otherwise challenge or contest the validity of this Order.
24                                      DEFINITIONS
25           For the purpose of this Order, the following definitions apply:
26           A.    “Acquirer” means a business organization, financial institution, or an
27   agent of a business organization or financial institution that has authority from an
28   organization that operates or licenses a credit card system (e.g. Visa, MasterCard,

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 1   American Express, and Discover) to authorize Merchants to accept, transmit, or
 2   process payment by credit card through the credit card system for money, goods or
 3   services, or anything else of value.
 4         B.     “Add-On” means any additional good or service that is offered to the
 5   consumer for purchase immediately preceding, at the time of, or closely proximate
 6   in time after the consumer’s purchase of a different good or service, where the
 7   different good or service is or was advertised, marketed, promoted, or offered for
 8   sale by the Settling Defendants, whether directly or through an intermediary,
 9   including by consulting, planning, participating, facilitating, or advising.
10         C.     “Affiliate” means any person, including any third-party marketer,
11   who participates in an Affiliate Program.
12         D.     “Affiliate Network” means any person who provides another person
13   with Affiliates for an Affiliate Program or with whom any person contracts as an
14   Affiliate to promote any good or service.
15         E.     “Affiliate Program” means any arrangement under which any
16   Settling Defendant pays, or offers to pay, or provides, or offers to provide, any
17   form of consideration to any third party, either directly or through an Affiliate
18   Network (i) to provide any Settling Defendant with, or refer to any Settling
19   Defendant, potential or actual customers; or (ii) otherwise to market, advertise, or
20   offer for sale any good or service on behalf of any Settling Defendant.
21         F.     “Asset” means any legal or equitable interest in, right to, or claim to,
22   any property, wherever located and by whomever held.
23         G.     “Billing Information” means any data that enables any person to
24   access a customer’s account, such as a credit card, checking, savings, share, or
25   similar account, utility bill, mortgage loan account, or debit card.
26         H.     “Chargeback” means a procedure whereby an issuing bank or other
27   financial institution charges all or part of an amount of a credit or debit transaction
28   back to the acquiring or merchant bank.

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 1         I.      “Clear and Conspicuous” or “Clearly and Conspicuously” means
 2   that a required disclosure is difficult to miss (i.e., easily noticeable) and easily
 3   understandable by ordinary consumers, including in all of the following ways:
 4                1.     In any communication that is solely visual or solely audible, the
 5   disclosure must be made through the same means through which the
 6   communication is presented. In any communication made through both visual and
 7   audible means, such as a television advertisement, the disclosure must be presented
 8   simultaneously in both the visual and audible portions of the communication even
 9   if the representation requiring the disclosure is made in only one means;
10                2.     A visual disclosure, by its size, contrast, location, the length of
11   time it appears, and other characteristics, must stand out from any accompanying
12   text or other visual elements so that it is easily noticed, read, and understood;
13                3.     An audible disclosure, including by telephone or streaming
14   video, must be delivered in a volume, speed, and cadence sufficient for ordinary
15   consumers to easily hear and understand it;
16                4.     In any communication using an interactive electronic medium,
17   such as the Internet or software, the disclosure must be unavoidable;
18                5.     On a product label, the disclosure must be presented on the
19   principal display panel;
20                6.     The disclosure must use diction and syntax understandable to
21   ordinary consumers and must appear in each language in which the representation
22   that requires the disclosure appears;
23                7.     The disclosure must comply with these requirements in each
24   medium through which it is received, including all electronic devices and
25   face-to-face communications;
26                8.     The disclosure must not be contradicted or mitigated by, or
27   inconsistent with, anything else in the communication; and
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 1                9.     When the representation or sales practice targets a specific
 2   audience, such as children, the elderly, or the terminally ill, “ordinary consumers”
 3   includes reasonable members of that group.
 4         J.     “Close Proximity” means immediately adjacent to the triggering
 5   representation. In the case of advertisements disseminated verbally or through
 6   audible means, the disclosure shall be made as soon as practicable after the
 7   triggering representation.
 8         K.     “Commission” or “FTC” means the Federal Trade Commission.
 9         L.     “Corporate Defendants” means Apex Capital Group, LLC, Capstone
10   Capital Solutions Limited, Clik Trix Limited, Empire Partners Limited, Interzoom
11   Capital Limited, Lead Blast Limited, Mountain Venture Solutions Limited, Nutra
12   Global Limited, Omni Group Limited, Rendezvous IT Limited, Sky Blue Media
13   Limited, and Tactic Solutions Limited, and each of their subsidiaries, affiliates,
14   successors, and assigns.
15         M.     “Cosmetic” means:
16                1.     articles to be rubbed, poured, sprinkled, or sprayed on,
17   introduced into, or otherwise applied to the human body or any part thereof
18   intended for cleansing, beautifying, promoting attractiveness, or altering the
19   appearance; and
20                2.     articles intended for use as a component of any such article,
21   except that such term shall not include soap.
22         N.     “Credit Card Laundering” means:
23                1.     Presenting or depositing into, or causing or allowing another to
24   present or deposit into, the credit card system for payment, a Credit Card Sales
25   Draft generated by a transaction that is not the result of a credit card transaction
26   between the cardholder and the Merchant;
27                2.     Employing, soliciting, or otherwise causing or allowing a
28   Merchant, or an employee, representative, or agent of a Merchant, to present to or

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 1   deposit into the credit card system for payment, a Credit Card Sales Draft
 2   generated by a transaction that is not the result of a credit card transaction between
 3   the cardholder and the Merchant; or
 4                3.     Obtaining access to the credit card system through the use of a
 5   business relationship or an affiliation with a Merchant, when such access is not
 6   authorized by the Merchant Account agreement or the applicable credit card
 7   system.
 8         O.     “Credit Card Sales Draft” means any record or evidence of a credit
 9   card transaction.
10         P.     “Dietary Supplement” means:
11                1.     any product labeled as a dietary supplement or otherwise
12   represented as a dietary supplement; or
13                2.     any pill, tablet, capsule, powder, softgel, gelcap, liquid, or other
14   similar form containing one or more ingredients that are a vitamin, mineral, herb or
15   other botanical, amino acid, probiotic, or other dietary substance for use by humans
16   to supplement the diet by increasing the total dietary intake, or a concentrate,
17   metabolite, constituent, extract, or combination of any ingredient described above,
18   that is intended to be ingested, and is not represented to be used as a conventional
19   Food or as a sole item of a meal or the diet.
20         Q.     “Drug” means:
21                1.     articles recognized in the official United States Pharmacopoeia,
22   official Homeopathic Pharmacopoeia of the United States, or official National
23   Formulary, or any supplement to any of them;
24                2.     articles intended for use in the diagnosis, cure, mitigation,
25   treatment, or prevention of disease in humans or other animals;
26                3.     articles (other than Food) intended to affect the structure or any
27   function of the body of humans or other animals; and
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 1                4.     articles intended for use as a component of any article specified
 2   in Subsection (1), (2), or (3); but does not include devices or their components,
 3   parts, or accessories.
 4         R.     “Food” means:
 5                1.     any article used for food or drink for humans or other animals;
 6                2.     chewing gum; and
 7                3.     any article used for components of any such article.
 8         S.     “Including” means including but not limited to.
 9         T.     “Individual Defendant” means individual defendant Phillip Peikos.
10         U.     “Merchant” means any natural person, entity, corporation,
11   partnership, or association of persons who is authorized under a written contract
12   with an Acquirer to honor or accept credit cards, or to transmit or process for
13   payment credit card payments, for the purchase of good or services.
14         V.     “Merchant Account” means an account with an Acquirer that
15   authorizes and allows a Merchant to honor or accept credit cards, or to transmit or
16   process for payment credit card payments, for the purchase of goods or services or
17   a charitable contribution.
18         W.     “Negative Option Feature” means, in an offer or agreement to sell or
19   provide any good or service, a provision under which the consumer’s silence or
20   failure to take affirmative action to reject a good or service, or to cancel the
21   agreement, is interpreted by the seller or provider as acceptance or continuing
22   acceptance of the offer.
23         X.     “Preauthorized Electronic Fund Transfer” means an electronic
24   fund transfer authorized in advance to recur at substantially regular intervals.
25         Y.     “Receiver” means Thomas McNamara, as set forth in Section XIV of
26   the Stipulated Preliminary Injunction with Asset Freeze, Receiver, and Other
27   Equitable Relief Against Corporate Defendants and Defendant Phillip Peikos
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 1   (“Preliminary Injunction”), and any deputy receivers that shall be named by the
 2   Receiver.
 3          Z.     “Receivership Entities” means the Corporate Defendants, the
 4   Wyoming Related Companies, the UK Related Companies, Albright Solutions
 5   LLC, Apex Capital International Sarl, Asus Capital Solutions LLC, Brandooza
 6   LLC, DMB Marketing LLC, Element Media Group LLC, Jaci, LLC, Jaci Holding
 7   LLC, Jaci PR LLC, NextG Payments, LLC, NextLevel Solutions LLC, Omni
 8   Holding Company, LLC, and Vortex Media Group LLC.
 9          AA. “Receivership Estate” means all Assets managed, held, or
10   maintained by the Receiver in connection with his role as Receiver in this
11   litigation.
12          BB. “Settling Defendants” means the Individual Defendant and all of the
13   Corporate Defendants, individually, collectively, or in any combination.
14          CC. “Telemarketing” means any plan, program, or campaign which is
15   conducted to induce the purchase of goods or services by use of one or more
16   telephones, and which involves a telephone call, whether or not covered by the
17   Telemarketing Sales Rule, 16 C.F.R. Part 310.
18          DD. “UK Related Companies” means the companies identified in Exhibit
19   2 to this Order and each of their subsidiaries, affiliates, successors, and assigns
20          EE.    “Wyoming Related Companies” means the companies identified in
21   Exhibit 1 to this Order and each of their subsidiaries, affiliates, successors, and
22   assigns.
23                                          ORDER
24                                              I.
25                  BAN ON CERTAIN NEGATIVE OPTION SALES
26          IT IS ORDERED that Settling Defendants are permanently restrained and
27   enjoined from advertising, marketing, promoting, or offering for sale, whether
28   directly or through an intermediary, including by consulting, planning,

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 1   participating, facilitating, or advising, any good or service with a Negative Option
 2   Feature in the following circumstances:
 3         A.     Where the good or service is or relates to a Cosmetic, Food, Dietary
 4   Supplement, or Drug;
 5         B.     Where the good or service is or relates to an Add-On good or service;
 6   or
 7         C.     Where the good or service is advertised, marketed, promoted, or
 8   offered for sale as either “free,” “risk free,” a “trial,” a “sample,” a “bonus,” a
 9   “gift,” “no obligation,” or using any other words, depictions, or illustrations that
10   denote or imply the absence of an obligation on the part of the recipient of the offer
11   to affirmatively act in order to avoid charges.
12                                              II.
13                        PROHIBITED BUSINESS ACTIVITIES
14         IT IS FURTHER ORDERED that Settling Defendants, Settling
15   Defendants’ officers, agents, and employees, and all other persons in active concert
16   or participation with any of them, who receive actual notice of this Order, whether
17   acting directly or indirectly, in connection with the advertising, marketing,
18   promotion, offering for sale, or sale of any good or service are permanently
19   restrained and enjoined from:
20         A.     Before a consumer consents to pay for such good or service, failing to
21   disclose, or assisting others in failing to disclose in a Clear and Conspicuous
22   manner all material terms and conditions of any offer, including:
23                1.     The total cost or price of the good or service;
24                2.     The amount, timing, and manner of all fees, charges, or other
25   amounts that a consumer will be charged or billed, including the date of the charge
26   and whether it will be a credit card or checking account charge; and
27                3.     The mechanism for consumers to stop a charge.
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 1         B.      Before a consumer consents to pay for such product, service, or
 2   program, failing to disclose, or assisting others in failing to disclose in a Clear and
 3   Conspicuous manner all material terms and conditions of any refund or
 4   cancellation policy, including:
 5                 1.    The specific steps and means by which such requests must be
 6   submitted;
 7                 2.    The customer service telephone number or numbers that a
 8   customer must call to cancel and/or return goods or services;
 9                 3.    The email address, web address, or street address to which such
10   requests must be directed;
11                 4.    Any mechanism that customers must use to return any products,
12   including any requirement for specific tracking methods or delivery confirmation
13   for a package;
14                 5.    If there is any policy of not making refunds or cancellations,
15   including any requirement that a product will not be accepted for return or refund
16   unless it is unopened and in re-sellable condition, a statement regarding this policy;
17   and
18                 6.    The date by which a customer is required to request a refund.
19         C.      Misrepresenting, or assisting others in misrepresenting, expressly or
20   by implication, any fact material to consumers concerning any good or service,
21   such as:
22                 1.    That the consumer will not be charged for any good or service;
23                 2.    That a good or service is free, risk free, a bonus, a gift, without
24   cost, or without obligation;
25                 3.    That the consumer can obtain a good or service for a
26   processing, service, shipping, handling, or administrative fee with no further
27   obligation;
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 1                   4.    The purpose(s) for which the consumer’s Billing Information
 2   will be used;
 3                   5.    The date by which the consumer will incur any obligation or be
 4   charged unless the consumer takes an affirmative action with respect to a Negative
 5   Option Feature that is not banned under the Section of this Order entitled “Ban on
 6   Certain Negative Option Sales”;
 7                   6.    The amount that a consumer’s credit or debit card will be
 8   charged and the timing of the charge(s);
 9                   7.    The total cost to purchase, receive, or use a good or service;
10                   8.    Any material restrictions, limitations or conditions to purchase,
11   receive, or use the good or service;
12                   9.    That a transaction has been authorized by a consumer;
13                   10.   That a purchase is offered with a satisfaction guarantee or with
14   a money-back guarantee;
15                   11.   Any material aspect of the nature or terms of a refund,
16   cancellation, exchange, or repurchase policy for the good or service;
17                   12.   Any material aspect of the performance, efficacy, nature, or
18   central characteristics of a good or service;
19                   13.   That any advertisement for a good or service sold by Settling
20   Defendants is an objective source of information, such as an unaffiliated news
21   report or magazine article; and
22                   14.   That an endorsement is by a bona fide user of the good or
23   service and reflects the honest opinions, findings, beliefs, or experience of the
24   endorser;
25         D.        Failing, in connection with the advertising, promotion, marketing,
26   offering for sale, sale, or provision of any good or service through an Affiliate
27   Program to:
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 1                1.      Require each Affiliate and/or Affiliate Network to provide to
 2   Settling Defendants the following identifying information:
 3                        a.    In the case of a natural person, the Affiliate’s or Affiliate
 4   Network’s first and last name, physical address, country, telephone number, email
 5   address, and complete bank account information as to where payments are to be
 6   made to that person;
 7                        b.    In the case of a business entity, the Affiliate’s or Affiliate
 8   Network’s name and any and all names under which it does business, state of
 9   incorporation, registered agent, and the first and last name, physical address,
10   country, telephone number, and email address for at least one natural person who
11   owns, manages, or controls the Affiliate or Affiliate Network, and the complete
12   bank account information as to where payments are to be made to the Affiliate or
13   Affiliate Network;
14                        c.    If Settling Defendants only have access to certain
15   Affiliates through an Affiliate Network, then Settling Defendants shall
16   contractually require each Affiliate Network to obtain and maintain from those
17   Affiliates the identifying information set forth in Subsections D.1.a and D.1.b of
18   this Section prior to the Affiliate’s or Affiliate Network’s participation in the
19   Settling Defendants’ Affiliate Program.
20                2.      As a condition of doing business with any Affiliate or Affiliate
21   Network or such Affiliate or Affiliate Network’s acceptance into Settling
22   Defendants’ Affiliate Program: (a) provide each such Affiliate or Affiliate
23   Network a copy of this Order; (b) obtain from each such Affiliate or Affiliate
24   Network a signed and dated statement acknowledging receipt of this Order and
25   expressly agreeing to comply with this Order; and (c) clearly and conspicuously
26   disclose in writing that engaging in acts or practices prohibited by this Order will
27   result in immediate termination of any Affiliate or Affiliate Network and forfeiture
28   of all monies owed to such Affiliate or Affiliate Network; provided, however, that

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 1   if Settling Defendants only have access to certain Affiliates through an Affiliate
 2   Network, then Settling Defendants shall contractually require that the Affiliate
 3   Network provide the information required by this Subsection to each of those
 4   Affiliates and retain proof of the same prior to any such Affiliate being used in
 5   Settling Defendants’ Affiliate Program; and if Settling Defendants should acquire
 6   any entity that has an existing program of selling through Affiliates, the entity must
 7   complete all steps in this Subsection prior to Settling Defendants’ acquisition of
 8   the entity.
 9                 3.   Require that each Affiliate or Affiliate Network, prior to the
10   public use or dissemination of any marketing materials, including websites, emails,
11   and pop-ups used by any Affiliate or Affiliate Network to advertise, promote,
12   market, offer for sale, or sell any products, services, or programs through Settling
13   Defendants’ Affiliate Program, provide Settling Defendants with the following
14   information: (a) copies of all materially different marketing materials to be used by
15   the Affiliate or Affiliate Network, including text, graphics, video, audio, and
16   photographs; (b) each location the Affiliate or Affiliate Network maintains, or
17   directly or indirectly controls, where the marketing materials will appear, including
18   the URL of any website; (c) for hyperlinks contained within the marketing
19   materials, each location to which a consumer will be transferred by clicking on the
20   hyperlink, including the URL of any website; and (d) the range of dates that the
21   marketing materials will be publicly used or disseminated to consumers; provided,
22   however, that if Settling Defendants only have access to certain Affiliates through
23   an Affiliate Network, then Settling Defendants shall contractually require that the
24   Affiliate Network obtain and maintain the same information set forth above from
25   each of those Affiliates who are part of Settling Defendants’ Affiliate Program
26   prior to the public use or dissemination of any such marketing materials, and
27   provide proof to Settling Defendants of having obtained the same.
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 1                4.     Promptly review the marketing materials specified in Section
 2   II.D.3 above as necessary to ensure compliance with this Order. Settling
 3   Defendants shall also promptly take steps as necessary to ensure that the marketing
 4   materials provided to Settling Defendants under Section II.D.3 above are the
 5   marketing materials publicly used or disseminated to consumers by the Affiliate or
 6   Affiliate Network. If Settling Defendants determine that the use of any marketing
 7   material does not comply with this Order, Settling Defendants shall inform the
 8   Affiliate or Affiliate Network in writing that approval is denied and shall not pay
 9   any amounts to the Affiliate or Affiliate Network for such marketing, including
10   any payments for leads, “click-throughs,” or sales resulting therefrom; provided,
11   however, that if Settling Defendants only have access to certain Affiliates through
12   an Affiliate Network, then Settling Defendants shall contractually require that the
13   Affiliate Network comply with the procedures set forth in this Subsection as to
14   those Affiliates.
15                5.     Promptly and completely investigate any complaints that
16   Settling Defendants receive through any source to determine whether any Affiliate
17   or Affiliate Network is engaging in acts or practices prohibited by this Order,
18   either directly or through any Affiliate that is part of Settling Defendants’ Affiliate
19   Program.
20                6.     Upon determining that any Affiliate or Affiliate Network has
21   engaged in, or is engaging in, acts or practices prohibited by this Order, either
22   directly or through any Affiliate that is part of Settling Defendants’ Affiliate
23   Program, immediately:
24                       a.     Disable any connection between the Settling Defendants’
25   Affiliate Program and the marketing materials used by the Affiliate or Affiliate
26   Network to engage in such acts or practices prohibited by this Order;
27                       b.     Immediately halt the processing of any payments or
28   charges generated by the Affiliate or Affiliate Network;

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 1                       c.    Fully refund, or cause to be refunded, within five (5)
 2   business days, each consumer charged by Settling Defendants whose sale
 3   originated from the Affiliate or Affiliate Network on or after the date the Affiliate
 4   or Affiliate Network engaged in acts or practices prohibited by this Order; and
 5                       d.    Immediately terminate the Affiliate or Affiliate Network;
 6   provided, however, Settling Defendants shall not be in violation of this subsection
 7   if Settling Defendants fail to terminate an Affiliate Network in a case where
 8   Settling Defendants’ only access to an Affiliate who has engaged in acts or
 9   practices prohibited by this Order is through an Affiliate Network and Settling
10   Defendants receive notice that the Affiliate Network immediately terminated the
11   Affiliate violating this Order from any Affiliate Program maintained by the
12   Settling Defendants.
13                                            III.
14                     REQUIRED DISCLOSURES RELATING TO
15                            NEGATIVE OPTION FEATURES
16         IT IS FURTHER ORDERED that Settling Defendants, Settling
17   Defendants’ officers, agents, and employees, and all other persons in active concert
18   or participation with any of them, who receive actual notice of this Order, whether
19   acting directly or indirectly, in connection with promoting or offering for sale any
20   good or service with a Negative Option Feature, other than any good or service
21   covered under the Section of this Order entitled “Ban on Certain Negative Option
22   Sales,” are permanently restrained and enjoined from:
23         A.     Obtaining Billing Information from a consumer for any transaction
24   involving a good or service that includes a Negative Option Feature, without first
25   disclosing Clearly and Conspicuously, and in Close Proximity to where a
26   consumer provides Billing Information:
27                1.     The extent to which the consumer must take affirmative
28   action(s) to avoid any charges on a recurring basis;

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 1                2.     The total cost (or range of costs) the consumer will be charged,
 2   the date the initial charge will be submitted for payment, and the frequency of such
 3   charges unless the consumer timely takes affirmative steps to prevent or stop such
 4   charges;
 5                3.     The deadline(s) (by date or frequency) by which the consumer
 6   must affirmatively act in order to stop all recurring charges;
 7                4.     The name of the seller or provider of the good or service and, if
 8   the name of the seller or provider will not appear on billing statements, the billing
 9   descriptor that will appear on such statements;
10                5.     A description of the good or service;
11                6.     Any charge or cost for which the consumer is responsible in
12   connection with the cancellation of an order or the return of a product; and
13                7.     The simple cancellation mechanism to stop any recurring
14   Charges, as required by Section V of this Order.
15         B.     Failing to send the consumer:
16                1.     Immediately after the consumer’s submission of an online
17   order, written confirmation of the transaction by email. The email must Clearly
18   and Conspicuously disclose all the information required by Subsection III.A, and
19   contain a subject line reading “Order Confirmation” along with the name of the
20   good or service and no additional information; or
21                2.     Within two (2) days after receipt of the consumer’s order by
22   mail or telephone, a written confirmation of the transaction, either by email or first
23   class mail. The email or letter must Clearly and Conspicuously disclose all the
24   information required by Subsection III.A. The subject line of the email must
25   Clearly and Conspicuously state “Order Confirmation” along with the name of the
26   good or service and nothing else. The outside of the envelope must Clearly and
27   Conspicuously state “Order Confirmation” along with the name of the good or
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 1   service and no additional information other than the consumer’s address, the
 2   seller’s return address, and postage.
 3                                            IV.
 4                     OBTAINING EXPRESS INFORMED CONSENT
 5         IT IS FURTHER ORDERED that Settling Defendants, Settling
 6   Defendants’ officers, agents, and employees, and all other persons in active concert
 7   or participation with any of them, who receive actual notice of this Order, whether
 8   acting directly or indirectly, in connection with promoting or offering for sale any
 9   good or service with a Negative Option Feature, other than any good or service
10   covered under the Section of this Order entitled “Ban on Certain Negative Option
11   Sales,” are permanently restrained and enjoined from using, or assisting others in
12   using, Billing Information to obtain payment from a consumer, unless Settling
13   Defendants first obtain the express informed consent of the consumer to do so. To
14   obtain express informed consent, Settling Defendants must:
15         A.     For all written offers (including over the Internet or other web-based
16   applications or services), obtain consent through a check box, signature, or other
17   substantially similar method, which the consumer must affirmatively select or sign
18   to accept the Negative Option Feature, and no other portion of the offer. Settling
19   Defendants shall disclose Clearly and Conspicuously, and in Close Proximity to
20   such check box, signature, or substantially similar method of affirmative consent,
21   only the following, with no additional information:
22                1.     The extent to which the consumer must take affirmative
23   action(s) to avoid any charges on a recurring basis;
24                2.     The total cost (or range of costs) the consumer will be charged
25   and, if applicable, the frequency of such charges unless the consumer timely takes
26   affirmative steps to prevent or stop such charges; and
27                3.     The deadline(s) (by date or frequency) by which the consumer
28   must affirmatively act in order to stop all recurring charges.

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 1         B.     For all oral offers, prior to obtaining any Billing Information from the
 2   consumer:
 3                1.    Clearly and Conspicuously disclose the information contained
 4   in Subsection IV.A; and
 5                2.    Obtain affirmative unambiguous express oral confirmation that
 6   the consumer: (a) consents to being charged for any good or service, including
 7   providing, at a minimum, the last four (4) digits of the consumer’s account number
 8   to be charged, (b) understands that the transaction includes a Negative Option
 9   Feature, and (c) understands the specific affirmative steps the consumer must take
10   to prevent or stop further charges.
11         C.     For transactions conducted through Telemarketing, Settling
12   Defendants shall maintain for three (3) years from the date of each transaction an
13   unedited voice recording of the entire transaction, including the prescribed
14   statements set out in Subsection IV.B. Each recording must be retrievable by date
15   and by the consumer’s name, telephone number, or Billing Information, and must
16   be provided upon request to the consumer, the consumer’s bank, or any law
17   enforcement entity.
18                                            V.
19                         SIMPLE MECHANISM TO CANCEL
20                           NEGATIVE OPTION FEATURE
21         IT IS FURTHER ORDERED that Settling Defendants, Settling
22   Defendants’ officers, agents, and employees, and all other persons in active concert
23   or participation with any of them, who receive actual notice of this Order, whether
24   acting directly or indirectly, in connection with promoting or offering for sale any
25   good or service with a Negative Option Feature, other than any good or service
26   covered under the Section of this Order entitled “Ban on Certain Negative Option
27   Sales,” are permanently restrained and enjoined from failing to provide a simple
28   mechanism for the consumer to immediately stop any recurring charges. Such

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 1   mechanism must not be difficult, costly, confusing, or time consuming, and must
 2   be at least as simple as the mechanism the consumer used to initiate the charge(s).
 3   In addition:
 4         A.       For consumers who entered into the agreement to purchase a good or
 5   service including a Negative Option Feature over the Internet or through other
 6   web-based applications or services, Settling Defendants must provide a
 7   mechanism, accessible over the Internet or through such other web-based
 8   application or service that consumers can easily use to cancel the good or service
 9   and to immediately stop all further charges.
10         B.       For consumers who entered into the agreement to purchase a good or
11   service including a Negative Option Feature through an oral offer and acceptance,
12   Settling Defendants must maintain a telephone number and a postal address that
13   consumers can easily use to cancel the good or service and to immediately stop all
14   further charges. Settling Defendants must assure that all calls to this telephone
15   number shall be answered during normal business hours and that mail to the postal
16   address is retrieved regularly.
17                                            VI.
18        PROHIBITIONS AGAINST VIOLATION OF THE ELECTRONIC
19                                FUND TRANSFER ACT
20        IT IS FURTHER ORDERED that Settling Defendants and Settling
21   Defendants’ officers, agents, and employees, and all other persons in active concert
22   or participation with any of them, who receive actual notice of this Order, whether
23   acting directly or indirectly, in connection with the sale of any good or service are
24   hereby permanently restrained and enjoined from:
25         A.       Engaging in any recurring debiting of a consumer’s account without
26   first obtaining a valid written pre-authorization for Preauthorized Electronic Fund
27   Transfers from the consumer’s account, which pre-authorization is clear and
28   readily understandable, identifiable as a pre-authorization, and reflects the

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 1   consumer’s assent, as required by Section 907(a) of the Electronic Fund Transfer
 2   Act, 15 U.S.C. § 1693e(a), and Section 1005.10(b) of Regulation E, as more fully
 3   set out in Section 1005.10(b) of the Consumer Financial Protection Bureau’s
 4   Official Staff Commentary to Regulation E (“Official Staff Commentary to
 5   Regulation E”), 12 C.F.R. § 1005.10(b), cmts. 5 and 6, Supp. I;
 6         B.     Engaging in any recurring debiting of a consumer’s account without
 7   first providing a copy of a valid written pre-authorization to the consumer for
 8   Preauthorized Electronic Fund Transfers from the consumer’s account, which copy
 9   is clear and readily understandable, identifiable as a pre-authorization, and reflects
10   the consumer’s assent, as required by Section 907(a) of EFTA, 15 U.S.C.
11   § 1693e(a), and Section 1005.10(b) of Regulation E, as more fully set out in
12   Section 1005.10(b) of the Official Staff Commentary to Regulation E, 12 C.F.R.
13   § 1005.10(b), cmts. 5 and 6, Supp. I; and
14         C.     Failing to maintain procedures reasonably adapted to avoid an
15   unintentional failure to obtain a written authorization for Preauthorized Electronic
16   Fund Transfers, as required in Section 1005.10(b) of the Official Staff
17   Commentary to Regulation E, 12 C.F.R. § 1005.10(b), cmt. 7, Supp. I.
18                                            VII.
19                PROHIBITIONS RELATED TO MERCHANT ACCOUNTS
20         IT IS FURTHER ORDERED that Settling Defendants, Settling
21   Defendants’ officers, agents, and employees, and all other persons in active concert
22   or participation with any of them, who receive actual notice of this Order, whether
23   acting directly or indirectly, are permanently restrained and enjoined from:
24         A.     Failing to disclose to any bank, payment processor, credit card
25   processor, independent sales organization, third party processor, payment gateway,
26   or other financial institution any material fact relating to obtaining a Merchant
27   Account, including, but not limited to, the identity of the owner, manager, director,
28   or officer of an entity applying for or holding a Merchant Account, and whether

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 1   such owner, manager, director, or officer:
 2                1.     Has been or is placed in a Merchant Account monitoring
 3   program;
 4                2.     Has had a Merchant Account terminated by a bank, payment
 5   processor, or other financial institution; or
 6                3.     Has been fined or otherwise disciplined by a bank, payment
 7   processor, or other financial institution, in connection with a Merchant Account.
 8         B.     Making, or assisting others in making, directly or by implication, any
 9   false or misleading statements or material omissions in order to obtain a Merchant
10   Account or respond to a Chargeback.
11         C.     Engaging in tactics to avoid any fraud or risk monitoring program
12   established by any financial institution, acquiring bank, or the operators of any
13   payment system, including:
14                1.     Using shell companies or nominees (including nominee owners,
15   officers, or managers) to obtain Merchant Accounts;
16                2.     Balancing or distributing sales transaction volume or sales
17   transaction activity among multiple Merchant Accounts or merchant billing
18   descriptors; or
19                3.     Splitting a single transaction into multiple smaller transactions.
20         D.     Causing a sham sales transaction, including microtransactions
21   (sometimes referred to as Value Added Propositions or VAP) or sales transactions
22   by a Merchant to itself.
23                                            VIII.
24                PROHIBITION ON CREDIT CARD LAUNDERING
25         IT IS FURTHER ORDERED that Settling Defendants, Settling
26   Defendants’ officers, agents, and employees, and all other persons in active concert
27   or participation with any of them, who receive actual notice of this Order, whether
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 1   acting directly or indirectly, in connection with a Merchant Account are
 2   permanently restrained and enjoined from Credit Card Laundering.
 3                                              IX.
 4              MONETARY JUDGMENT AND PARTIAL SUSPENSION
 5         IT IS FURTHER ORDERED that:
 6         A.     Judgment in the amount of sixty million, three hundred thousand,
 7   dollars ($60,300,000) is entered in favor of the Commission against Settling
 8   Defendants, jointly and severally, as equitable monetary relief, which may include
 9   restitution. Upon complete payment and transfer to the Commission of all Assets
10   listed in Subsections IX.B-D below, the remainder of the judgment is suspended,
11   subject to Subsections IX.E-G below.
12         B.     In partial satisfaction of the monetary judgment set forth above,
13   within seven (7) days after the entry of this Order, the following transfers of Assets
14   shall be made to the Commission by electronic fund transfer in accordance with
15   instructions provided by a representative of the Commission. Individual Defendant
16   Phillip Peikos relinquishes all legal and equitable right, title, control, and interest in
17   these Assets and shall take all steps necessary to transfer possession, custody, and
18   control of the Assets to the Commission:
19                1.     Banco Popular de Puerto Rico shall transfer to the Commission
20   all Assets held in the bank accounts ending in account numbers 5794 and 5816 in
21   the name of Phillip Peikos; and
22                2.     Citibank, N.A. shall transfer to the Commission all Assets held
23   in the bank accounts ending in account numbers 9763 and 9771 in the name of
24   Phillip Peikos.
25         C.     In partial satisfaction of the monetary judgment set forth above,
26   within seven (7) days after the entry of this Order, the following transfers of Assets
27   shall be made to the Receiver, to the extent not already transferred to the Receiver,
28   and such Assets shall be included within the Receivership Estate. Settling

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 1   Defendants relinquish all legal and equitable right, title, control, and interest in
 2   these Assets and shall take all steps necessary to transfer possession, custody, and
 3   control of the Assets to the Receiver:
 4                1.     Citibank, N.A. shall transfer to the Receiver all Assets held in
 5   the name of or for the benefit of any of the Receivership Entities, including the
 6   Assets held in the following bank accounts:
 7                       a.     The bank account ending in account number 9275 in the
 8   name of Apex Capital Group, LLC;
 9                       b.     The bank account ending in account number 5557 in the
10   name of Jaci, LLC;
11                       c.      The bank account ending in account number 5540 in the
12   name of Jaci Holding LLC; and
13                       d.     The bank account ending in account number 6446 in the
14   name of NextG Payments, LLC.
15                2.     Banco Popular de Puerto Rico shall transfer to the Receiver all
16   Assets held in the name of or for the benefit of any of the Receivership Entities,
17   including the Assets held in the following bank accounts:
18                       a.     The bank account ending in account number 7665 in the
19   name of Apex Capital Group, LLC; and
20                       b.     The bank account ending in account number 2294 in the
21   name of Brandooza LLC.
22                3.     Wells Fargo Bank, N.A. shall transfer to the Receiver all Assets
23   held in the name of or for the benefit of any of the Receivership Entities, including
24   the Assets held in the following bank accounts:
25                       a.     The bank account ending in account number 4941 in the
26   name of Apres Vous Media, LLC;
27                       b.     The bank account ending in account number 2944 in the
28   name of Cascade Canyon LLC;

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 1                      c.     The bank accounts ending in account numbers 8505 and
 2   7158 in the name of Confidential Holdings LLC;
 3                      d.     The bank account ending in account number 4982 in the
 4   name of Cornice Group LLC;
 5                      e.     The bank account ending in account number 8305 in the
 6   name of Horizon Media, LLC;
 7                      f.     The bank account ending in account number 3074 in the
 8   name of Interzoom, LLC;
 9                      g.     The bank account ending in account number 2621 in the
10   name of Mountain Range Ventures LLC;
11                      h.      The bank account ending in account number 4966 in the
12   name of Shadow Peak, LLC;
13                      i.     The bank accounts ending in account numbers 2434 and
14   1101 in the name of Singletrack Solutions LLC;
15                      j.     The bank account ending in account number 2969 in the
16   name of Sky Media Group, LLC;
17                      k.      The bank account ending in account number 8690 in the
18   name of Teton Pass LLC; and
19                      l.     The bank account ending in account number 2977 in the
20   name of Wyoming Freedom Group, LLC.
21                4.    Barclays Bank PLC shall transfer to the Receiver all Assets
22   held in the name of or for the benefit of any of the Receivership Entities, including
23   the bank accounts in the name of Omni Group Limited.
24                5.    BMO Harris Bank, N.A. shall transfer to the Receiver all
25   Assets, including reserve funds, held in the name of or for the benefit of any of the
26   Receivership Entities.
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 1                6.    Cashflows Europe Limited shall transfer to the Receiver all
 2   Assets, including reserve funds, held in the name of or for the benefit of any of the
 3   Receivership Entities.
 4                7.    Chase Paymentech shall transfer to the Receiver all Assets,
 5   including reserve funds, held in the name of or for the benefit of any of the
 6   Receivership Entities.
 7                8.    Connected Payment Services, Inc. shall transfer to the Receiver
 8   all Assets, including reserve funds, held in the name of or for the benefit of any of
 9   the Receivership Entities.
10                9.    Decta Limited shall transfer to the Receiver all Assets,
11   including reserve funds, held in the name of or for the benefit of any of the
12   Receivership Entities.
13                10.   Deutsche Bank AG shall transfer to the Receiver all Assets,
14   including reserve funds, held in the name of or for the benefit of any of the
15   Receivership Entities.
16                11.   Elavon Inc. shall transfer to the Receiver all Assets, including
17   reserve funds, held in the name of or for the benefit of any of the Receivership
18   Entities.
19                12.   Esquire Bank shall transfer to the Receiver all Assets, including
20   reserve funds, held in the name of or for the benefit of any of the Receivership
21   Entities.
22                13.   EVO Payments International shall transfer to the Receiver all
23   Assets, including reserve funds, held in the name of or for the benefit of any of the
24   Receivership Entities.
25                14.   Global Electronic Technology, Inc. shall transfer to the
26   Receiver all Assets, including reserve funds, held in the name of or for the benefit
27   of any of the Receivership Entities.
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 1                15.   Global Merchant Advisors, Inc. shall transfer to the Receiver all
 2   Assets, including reserve funds, held in the name of or for the benefit of any of the
 3   Receivership Entities.
 4                16.   Humboldt Merchant Services shall transfer to the Receiver all
 5   Assets, including reserve funds, held in the name of or for the benefit of any of the
 6   Receivership Entities.
 7                17.   Merrick Bank shall transfer to the Receiver all Assets,
 8   including reserve funds, held in the name of or for the benefit of any of the
 9   Receivership Entities.
10                18.   National Merchant Services LLC shall transfer to the Receiver
11   all Assets, including reserve funds, held in the name of or for the benefit of any of
12   the Receivership Entities.
13                19.   National Merchants Association shall transfer to the Receiver
14   all Assets, including reserve funds, held in the name of or for the benefit of any of
15   the Receivership Entities.
16                20.   Payment World, LLC shall transfer to the Receiver all Assets,
17   including reserve funds, held in the name of or for the benefit of any of the
18   Receivership Entities.
19                21.   Paysafe Group Plc shall transfer to the Receiver all Assets,
20   including reserve funds, held in the name of or for the benefit of any of the
21   Receivership Entities.
22                22.   Priority Payment Systems LLC shall transfer to the Receiver all
23   Assets, including reserve funds, held in the name of or for the benefit of any of the
24   Receivership Entities.
25                23.   Signapay shall transfer to the Receiver all Assets, including
26   reserve funds, held in the name of or for the benefit of any of the Receivership
27   Entities.
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 1                24.    Signature Card Services shall transfer to the Receiver all
 2   Assets, including reserve funds, held in the name of or for the benefit of any of the
 3   Receivership Entities.
 4                25.    Synovus Financial Corp. shall transfer to the Receiver all
 5   Assets, including reserve funds, held in the name of or for the benefit of any of the
 6   Receivership Entities.
 7                26.    Transact Pro shall transfer to the Receiver all Assets, including
 8   reserve funds, held in the name of or for the benefit of any of the Receivership
 9   Entities.
10                27.    U.S. Merchant Systems LLC shall transfer to the Receiver all
11   Assets, including reserve funds, held in the name of or for the benefit of any of the
12   Receivership Entities.
13                28.    Woodforest National Bank shall transfer to the Receiver all
14   Assets, including reserve funds, held in the name of or for the benefit of any of the
15   Receivership Entities.
16                29.    Worldpay, LLC shall transfer to the Receiver all Assets,
17   including reserve funds, held in the name of or for the benefit of any of the
18   Receivership Entities.
19                30.    Individual Defendant Phillip Peikos shall transfer to the
20   Receiver all of his rights and interests in Jaci and Jaci Holdings (USA), as
21   identified in his November 30, 2018 Financial Statement, including attachments.
22                31.    Individual Defendant Phillip Peikos shall transfer to the
23   Receiver all of his rights and interests in Cinsay (USA), as identified in his
24   November 30, 2018 Financial Statement, including attachments.
25                32.    Individual Defendant Phillip Peikos shall transfer to the
26   Receiver all of his rights and interests in Brandooza (Puerto Rico), as identified in
27   his November 30, 2018 Financial Statement, including attachments.
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 1                  33.   Individual Defendant Phillip Peikos shall transfer to the
 2   Receiver his 2016 Bentley GTC Speed, as identified in his November 30, 2018
 3   Financial Statement, including attachments.
 4                  34.   Individual Defendant Phillip Peikos shall transfer to the
 5   Receiver his 2017 Jeep Wrangler, as identified in his November 30, 2018 Financial
 6   Statement, including attachments.
 7                  35.    Settling Defendants shall transfer to the Receiver their rights
 8   and interests in BrightGuard Inc.
 9                  36.   Settling Defendants shall transfer to the Receiver their rights
10   and interests in Highpost Holdings Limited, including any and all rights related to
11   the Highpost Holdings Limited Share Purchase Agreement, entered into by Apex
12   Capital Group LLC and C.D.L. Developing Limited with an effective date of
13   February 20, 2018.
14                  37.    Defendant Omni Group Limited shall transfer to the Receiver
15   its rights and interests in any loan made to Highpost Holdings Limited, including
16   amounts loaned to Highpost Holdings Limited in October 2017, as identified in its
17   November 30, 2018 Financial Statement, including attachments.
18                  38.   Defendant Apex Capital Group, LLC shall transfer to the
19   Receiver its rights and interests in any loan made to Sestito Property Management,
20   LLC, as identified in its November 30, 2018 Financial Statement, including
21   attachments.
22         D.       In partial satisfaction of the monetary judgment set forth above, the
23   following transfer and sale of the property located at 740 Country Valley Road,
24   Westlake Village, California 91362, including all furniture contained therein (the
25   “Westlake Village Property” or the “Property”) shall occur:
26                  1.    Within seven (7) days of entry of this Order, Individual
27   Defendant Phillip Peikos shall cooperate fully with the Receiver and take such
28   steps as the Receiver may require, including executing any documents and

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 1   providing any information, to transfer to the Receiver possession and full legal and
 2   equitable title to the Westlake Village Property, unless such transfer has already
 3   taken place. Until title and possession are transferred, Individual Defendant Phillip
 4   Peikos shall maintain and take no action to diminish the value of the Westlake
 5   Village Property, including any structures, fixtures, and appurtenances thereto.
 6   Any persons currently residing at the Westlake Village Property shall vacate the
 7   Property in “broom clean condition” and deliver to the Receiver all keys and
 8   security codes, if any, along with written notice that possession is surrendered.
 9   Individual Defendant Phillip Peikos represents that no encumbrances to the
10   Westlake Village Property have been added since the execution of his Financial
11   Statement dated November 30, 2018 and that he will not add any encumbrances
12   after signing this Order.
13                2.     The Receiver shall, within six (6) months from the date of this
14   Order, make all good faith efforts to sell the Westlake Village Property.
15                3.     The Receiver and all personnel hired by the Receiver in
16   connection with the sale of the Westlake Village Property shall be paid their
17   reasonable and customary fees for the performance of their duties in connection
18   with the sale of the Property and for the cost of out-of-pocket expenses incurred by
19   them. Such compensation shall be paid from the proceeds of the sale of the
20   Westlake Village Property.
21                4.     Following the transfer of title and possession to the Receiver,
22   the Receiver shall be responsible for all mortgage payments, maintenance fees,
23   taxes, utility, sewer and/or water use charges, homeowners association’s fees or
24   penalties, and all other expenses of any nature related to the Westlake Village
25   Property. In addition, the Receiver shall be responsible for all costs associated
26   with the marketing and sale of the Westlake Village Property, including transfer
27   fees, recording fees, advertising costs, and any commissions associated with or
28   resulting from the sale of the Westlake Village Property. All of the expenses, fees,

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 1   and costs set forth in this Paragraph shall be paid by the Receiver from the
 2   proceeds of the sale of the Westlake Village Property.
 3                  5.    Within thirty (30) days of the sale of the Westlake Village
 4   Property, the Receiver shall pay to the Commission by electronic fund transfer the
 5   net proceeds from the sale (“Net Proceeds”), after the payment of the related liens,
 6   debts, fees, and expenses set forth in Paragraph D.4 of this Section. Provided,
 7   however, that if the Net Proceeds from the sale exceed $500,000, the Receiver
 8   shall pay seventy thousand dollars ($70,000) of the Net Proceeds to non-party Gina
 9   Manfredi and the remainder of the Net Proceeds to the Commission.
10         E.       The Commission’s agreement to the suspension of part of the
11   judgment is expressly premised upon the truthfulness, accuracy, and completeness
12   of Settling Defendants’ sworn financial statements and related documents
13   (collectively, “financial representations”) submitted to the Commission, namely:
14                  1.    the Financial Statement of Individual Defendant Phillip Peikos
15   signed on November 30, 2018, including the attachments;
16                  2.    the Financial Statement of Corporate Defendant Apex Capital
17   Group, LLC, signed by Phillip Peikos, Chief Executive Officer, on November 30,
18   2018, including the attachments;
19                  3.    the Financial Statement of Corporate Defendant Capstone
20   Capital Solutions Limited, signed by Raul Camacho, Manager, on December 2,
21   2018, including the attachments;
22                  4.    the Financial Statement of Corporate Defendant Clik Trix
23   Limited, signed by Raul Camacho, Manager, on December 2, 2018, including the
24   attachments;
25                  5.    the Financial Statement of Corporate Defendant Empire
26   Partners Limited, signed by Raul Camacho, Manager, on December 2, 2018,
27   including the attachments;
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 1                  6.    the Financial Statement of Corporate Defendant Interzoom
 2   Capital Limited, signed by Raul Camacho, Manager, on December 2, 2018,
 3   including the attachments;
 4                  7.    the Financial Statement of Corporate Defendant Lead Blast
 5   Limited, signed by Raul Camacho, Manager, on December 2, 2018, including the
 6   attachments;
 7                  8.    the Financial Statement of Corporate Defendant Mountain
 8   Venture Solutions Limited, signed by Raul Camacho, Manager, on December 2,
 9   2018, including the attachments;
10                  9.    the Financial Statement of Corporate Defendant Nutra Global
11   Limited, signed by Raul Camacho, Manager, on December 2, 2018, including the
12   attachments;
13                  10.   the Financial Statement of Omni Group Limited, signed by
14   Phillip Peikos, Director, on November 30, 2018, including the attachments;
15                  11.   the Financial Statement of Corporate Defendant Rendezvous IT
16   Limited, signed by Raul Camacho, Manager, on December 2, 2018, including the
17   attachments;
18                  12.   the Financial Statement of Corporate Defendant Sky Blue
19   Media Limited, signed by Raul Camacho, Manager, on December 2, 2018,
20   including the attachments;
21                  13.   the Financial Statement of Corporate Defendant Tactic
22   Solutions Limited, signed by Raul Camacho, Manager, on December 2, 2018,
23   including the attachments; and
24                  14.   the additional information submitted by email dated March 25,
25   2019, from William Rothbard, attorney for the Settling Defendants, confirming the
26   amount and source of a loan made to Mr. Peikos.
27         F.       The suspension of the judgment will be lifted as to any Settling
28   Defendant if, upon motion by the Commission, the Court finds that Settling

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 1   Defendant failed to disclose any material Asset, materially misstated the value of
 2   any Asset, or made any other material misstatement or omission in the financial
 3   representations identified above.
 4         G.     If the suspension of the judgment is lifted, the judgment becomes
 5   immediately due as to that Settling Defendant in the amount specified in Section
 6   IX.A. above (which the parties stipulate only for purposes of this Section
 7   represents the consumer injury alleged in the Complaint), less any payment
 8   previously made pursuant to this Section, plus interest computed from the date of
 9   entry of this Order.
10                                             X.
11                     ADDITIONAL MONETARY PROVISIONS
12         IT IS FURTHER ORDERED that:
13         A.     Settling Defendants relinquish dominion and all legal and equitable
14   right, title, and interest in all Assets transferred pursuant to this Order and may not
15   seek the return of any Assets.
16         B.     The facts alleged in the Complaint will be taken as true, without
17   further proof, in any subsequent civil litigation by or on behalf of the Commission
18   to enforce its rights to any payment or monetary judgment pursuant to this Order,
19   such as a nondischargeability complaint in any bankruptcy case.
20         C.     The facts alleged in the Complaint establish all elements necessary to
21   sustain an action by the Commission pursuant to Section 523(a)(2)(A) of the
22   Bankruptcy Code, 11 U.S.C. § 523(a)(2)(A), and this Order will have collateral
23   estoppel effect for such purposes.
24         D.     Settling Defendants acknowledge that their Taxpayer Identification
25   Numbers (Social Security Numbers or Employer Identification Numbers), which
26   Settling Defendants previously submitted to the Commission, may be used for
27   collecting and reporting on any delinquent amount arising out of this Order, in
28   accordance with 31 U.S.C. § 7701.

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 1         E.     All money paid to the Commission pursuant to this Order may be
 2   deposited into a fund administered by the Commission or its designee to be used
 3   for equitable relief, including consumer redress and any attendant expenses for the
 4   administration of any redress fund. If a representative of the Commission decides
 5   that direct redress to consumers is wholly or partially impracticable or money
 6   remains after redress is completed, the Commission may apply any remaining
 7   money for such other equitable relief (including consumer information remedies)
 8   as it determines to be reasonably related to Settling Defendants’ practices alleged
 9   in the Complaint. Any money not used for such equitable relief is to be deposited
10   to the U.S. Treasury as disgorgement. Settling Defendants have no right to
11   challenge any actions the Commission or its representatives may take pursuant to
12   this Subsection.
13         F.     The freeze on the Assets of the Settling Defendants pursuant to
14   Section VI of the Preliminary Injunction entered in this action on December 18,
15   2018 is modified to permit the payments and other transfers of Assets identified in
16   Sections IX and X of this Order. Upon completion of all payment and other
17   obligations identified in Sections IX and X of this Order, the asset freezes are
18   dissolved as to the Settling Defendants. A financial institution shall be entitled to
19   rely upon a letter from the Commission stating that the freeze on the Settling
20   Defendants’ Assets has been lifted.
21                                            XI.
22                             CUSTOMER INFORMATION
23         IT IS FURTHER ORDERED that Settling Defendants and Settling
24   Defendants’ officers, agents, and employees, and all other persons in active concert
25   or participation with any of them, who receive actual notice of this Order, whether
26   acting directly or indirectly, are hereby permanently restrained and enjoined from
27   directly or indirectly:
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 1           A.    failing to provide sufficient customer information to enable the
 2   Commission to efficiently administer consumer redress. If a representative of the
 3   Commission requests in writing any information related to redress, Settling
 4   Defendants must provide it, in the form prescribed by the Commission, within 14
 5   days;
 6           B.    disclosing, using, or benefitting from customer information, including
 7   the name, address, telephone number, email address, social security number, other
 8   identifying information, or any data that enables access to a customer’s account
 9   (including a credit card, bank account, or other financial account), that any Settling
10   Defendant obtained prior to entry of this Order in connection with the promoting or
11   offering for sale of any good or service with a Negative Option Feature; and
12           C.    failing to destroy such customer information in all forms in their
13   possession, custody, or control within 30 days after receipt of written direction to
14   do so from a representative of the Commission.
15           Provided, however, that customer information need not be disposed of, and
16   may be disclosed, to the extent requested by a government agency or required by
17   law, regulation, or court order.
18                                            XII.
19                                      COOPERATION
20           IT IS FURTHER ORDERED that Settling Defendants must fully
21   cooperate with representatives of the Commission in this case and in any
22   investigation related to or associated with the transactions or the occurrences that
23   are the subject of the Complaint. Such Settling Defendants must provide truthful
24   and complete information, evidence, and testimony. Individual Defendant Phillip
25   Peikos must appear and the Corporate Defendants must cause Settling Defendants’
26   officers, employees, representatives, or agents to appear for interviews, discovery,
27   hearings, trials, and any other proceedings that a Commission representative may
28   reasonably request upon 5 days written notice, or other reasonable notice, at such

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 1   places and times as a Commission representative may designate, without the
 2   service of a subpoena.
 3                                           XIII.
 4                            ORDER ACKNOWLEDGMENTS
 5         IT IS FURTHER ORDERED that Settling Defendants obtain
 6   acknowledgments of receipt of this Order:
 7         A.     Each Settling Defendant, within 7 days of entry of this Order, must
 8   submit to the Commission an acknowledgment of receipt of this Order sworn
 9   under penalty of perjury.
10         B.     For 5 years after entry of this Order, Individual Defendant Phillip
11   Peikos for any business that he, individually or collectively with any other Settling
12   Defendant, is the majority owner or controls directly or indirectly, and each
13   Corporate Defendant, must deliver a copy of this Order to: (1) all principals,
14   officers, directors, and LLC managers and members; (2) all employees having
15   managerial responsibilities for conduct related to the subject matter of the Order
16   and all agents and representatives who participate in conduct related to the subject
17   matter of the Order; and (3) any business entity resulting from any change in
18   structure as set forth in the Section titled Compliance Reporting. Delivery must
19   occur within 7 days of entry of this Order for current personnel. For all others,
20   delivery must occur before they assume their responsibilities.
21         C.     From each individual or entity to which a Settling Defendant
22   delivered a copy of this Order, that Settling Defendant must obtain, within 30 days,
23   a signed and dated acknowledgment of receipt of this Order.
24                                           XIV.
25                               COMPLIANCE REPORTING
26         IT IS FURTHER ORDERED that Settling Defendants make timely
27   submissions to the Commission:
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 1         A.     One year after entry of this Order, each Settling Defendant must
 2   submit a compliance report, sworn under penalty of perjury:
 3                1.     Each Settling Defendant must: (a) identify the primary
 4   physical, postal, and email address and telephone number, as designated points of
 5   contact, which representatives of the Commission may use to communicate with
 6   Settling Defendant; (b) identify all of that Settling Defendant’s businesses by all of
 7   their names, telephone numbers, and physical, postal, email, and Internet
 8   addresses; (c) describe the activities of each business, including the goods and
 9   services offered, the means of advertising, marketing, and sales, and the
10   involvement of any other Settling Defendant (which Individual Defendant Phillip
11   Peikos must describe if he knows or should know due to his own involvement); (d)
12   describe in detail whether and how that Settling Defendant is in compliance with
13   each Section of this Order; and (e) provide a copy of each Order Acknowledgment
14   obtained pursuant to this Order, unless previously submitted to the Commission.
15                2.     Additionally, Individual Defendant Phillip Peikos must:
16   (a) identify all telephone numbers and all physical, postal, email and Internet
17   addresses, including all residences; (b) identify all business activities, including
18   any business for which such Settling Defendant performs services whether as an
19   employee or otherwise and any entity in which such Settling Defendant has any
20   ownership interest; and (c) describe in detail such Settling Defendant’s
21   involvement in each such business, including title, role, responsibilities,
22   participation, authority, control, and any ownership.
23         B.     For 15 years after entry of this Order, each Settling Defendant must
24   submit a compliance notice, sworn under penalty of perjury, within 14 days of any
25   change in the following:
26                1.     Each Settling Defendant must report any change in: (a) any
27   designated point of contact; or (b) the structure of any Corporate Defendant or any
28   entity that Settling Defendant has any ownership interest in or controls directly or

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 1   indirectly that may affect compliance obligations arising under this Order,
 2   including: creation, merger, sale, or dissolution of the entity or any subsidiary,
 3   parent, or affiliate that engages in any acts or practices subject to this Order.
 4                2.     Additionally, Individual Defendant Phillip Peikos must report
 5   any change in: (a) name, including aliases or fictitious name, or residence address,
 6   or (b) title or role in any business activity, including any business for which such
 7   Settling Defendant performs services whether as an employee or otherwise and any
 8   entity in which such Settling Defendant has any ownership interest, and identify
 9   the name, physical address, and any Internet address of the business or entity.
10         C.     Each Settling Defendant must submit to the Commission notice of the
11   filing of any bankruptcy petition, insolvency proceeding, or similar proceeding by
12   or against such Settling Defendant within 14 days of its filing.
13         D.     Any submission to the Commission required by this Order to be
14   sworn under penalty of perjury must be true and accurate and comply with 28
15   U.S.C. § 1746, such as by concluding: “I declare under penalty of perjury under
16   the laws of the United States of America that the foregoing is true and correct.
17   Executed on: _____” and supplying the date, signatory’s full name, title (if
18   applicable), and signature.
19         E.     Unless otherwise directed by a Commission representative in writing,
20   all submissions to the Commission pursuant to this Order must be emailed to
21   DEbrief@ftc.gov or sent by overnight courier (not the U.S. Postal Service) to:
22   Associate Director for Enforcement, Bureau of Consumer Protection, Federal
23   Trade Commission, 600 Pennsylvania Avenue, NW, Washington, DC 20580. The
24   subject line must begin: FTC v. Apex Capital Group, LLC, et al.
25                                             XV.
26                                   RECORDKEEPING
27         IT IS FURTHER ORDERED that Settling Defendants must create certain
28   records for 15 years after entry of the Order, and retain each such record for 5

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 1   years. Specifically, Corporate Defendants and Individual Defendant Phillip Peikos
 2   for any business that such Settling Defendant, individually or collectively with any
 3   other Settling Defendant, is a majority owner or controls directly or indirectly,
 4   must create and retain the following records:
 5           A.     accounting records showing the revenues from all goods or services
 6   sold;
 7           B.     personnel records showing, for each person providing services,
 8   whether as an employee or otherwise, that person’s: name; addresses; telephone
 9   numbers; job title or position; dates of service; and (if applicable) the reason for
10   termination;
11           C.     records of all consumer complaints and refund requests, whether
12   received directly or indirectly, such as through a third party, and any response;
13           D.     all records necessary to demonstrate full compliance with each
14   provision of this Order, including all submissions to the Commission; and
15           E.     a copy of each unique advertisement or other marketing material.
16                                            XVI.
17                             COMPLIANCE MONITORING
18           IT IS FURTHER ORDERED that, for the purpose of monitoring Settling
19   Defendants’ compliance with this Order, including the financial representations
20   upon which part of the judgment was suspended and any failure to transfer any
21   Assets as required by this Order:
22           A.     Within 14 days of receipt of a written request from a representative of
23   the Commission, each Settling Defendant must: submit additional compliance
24   reports or other requested information, which must be sworn under penalty of
25   perjury; appear for depositions; and produce documents for inspection and
26   copying. The Commission is also authorized to obtain discovery, without further
27   leave of court, using any of the procedures prescribed by Federal Rules of Civil
28   Procedure 29, 30 (including telephonic depositions), 31, 33, 34, 36, 45, and 69.

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 1         B.     For matters concerning this Order, the Commission is authorized to
 2   communicate directly with each Settling Defendant. Settling Defendants must
 3   permit representatives of the Commission to interview any employee or other
 4   person affiliated with any Settling Defendant who has agreed to such an interview.
 5   The person interviewed may have counsel present.
 6         C.     The Commission may use all other lawful means, including posing,
 7   through its representatives as consumers, suppliers, or other individuals or entities,
 8   to Settling Defendants or any individual or entity affiliated with Settling
 9   Defendants, without the necessity of identification or prior notice. Nothing in this
10   Order limits the Commission’s lawful use of compulsory process, pursuant to
11   Sections 9 and 20 of the FTC Act, 15 U.S.C. §§ 49, 57b-1.
12         D.     Upon written request from a representative of the Commission, any
13   consumer reporting agency must furnish consumer reports concerning Individual
14   Defendant Phillip Peikos, pursuant to Section 604(1) of the Fair Credit Reporting
15   Act, 15 U.S.C. § 1681b(a)(1).
16                                           XVII.
17                          RETENTION OF JURISDICTION
18         IT IS FURTHER ORDERED that this Court retains jurisdiction of this
19   matter for purposes of construction, modification, and enforcement of this Order.
20
21   SO ORDERED this 11th day of September, 2019.
22
23                                          _______________________________
                                                  JOHN F. WALTER
24                                           UNITED STATES DISTRICT JUDGE
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26
27
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      For Plaintiff Federal Trade Commission:
 1
 2    Dated: 9/6/19                                               /s/
                                                         BRIAN N. LASKY
 3                                                       LAURA A. ZUCKERWISE
                                                         DARREN LUBETZKY
 4
                                                         Federal Trade Commission
 5                                                       One Bowling Green, Suite 318
                                                         New York, NY 10004
 6                                                       (212) 607-2804 (Zuckerwise)
                                                         (212) 607-2822 (Fax)
 7
                                                         lzuckerwise@ftc.gov
 8
                                                         FAYE CHEN BARNOUW
 9                                                       Federal Trade Commission
                                                         10990 Wilshire Blvd., Suite 400
10
                                                         Los Angeles, CA 90024
11                                                       (310) 824-4300
                                                         (310) 824-4380 (Fax)
12
      For Defendants Phillip Peikos, Apex Capital
13    Group, LLC, Capstone Capital Solutions Limited,
14    Clik Trix Limited, Empire Partners Limited,
      Interzoom Capital Limited, Lead Blast Limited,
15    Mountain Venture Solutions Limited, Nutra Global
      Limited, Omni Group Limited, Rendezvous IT
16    Limited, Sky Blue Media Limited, and Tactic
17    Solutions Limited

18    Dated: 8/5/19                                      _____/s/__________________
                                                         WILLIAM I. ROTHBARD
19                                                       Law Offices of William I. Rothbard
20                                                       2333 Canyonback Road
                                                         Los Angeles, CA 90049
21                                                       (310) 453-8713
                                                         (310) 453-8715 (Fax)
22                                                       Bill@RothbardLaw.com
23    Defendant Phillip Peikos
24                                                       __________/s/_____________
      Dated: 8/4/19
                                                         PHILLIP PEIKOS
25                                                       Individually and on behalf of the
26                                                       Corporate Defendants

27
28

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                                         EXHIBIT 1
 1
                             Wyoming Related Companies
 2
 3         Company
 4         Alpha Group LLC
           Apres Vous Media, LLC
 5         Based Capital LLC
           Bold Media LLC
 6
           Capstone Capital, LLC
 7         Cascade Canyon LLC
           Confidential Holdings, LLC
 8         Cornice Group LLC
 9         Crest Capital, LLC
           Fortune Ventures LLC
10         Future Holdings LLC
           Grand Assets, LLC
11
           Horizon Media, LLC
12         Interzoom, LLC
           Lead Blast LLC
13         Lion Capital LLC
14         Macro Group LLC
           Mountain Range Ventures LLC
15         Mountain Solutions, LLC
           Nutra First LLC
16
           Nutra Global LLC
17         Old West Equity LLC
           Omega Assets LLC
18         Rendezvous IT, LLC
19         Shadow Peak, LLC
           Singletrack Solutions LLC
20         Sky Media Group, LLC
           Teton Pass LLC
21         Virtual Media LLC
22         Wonder Leads LLC
           Wyoming Freedom Group LLC
23         Zoom Media LLC
24
25
26
27
28

                                           Ex-1
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 1
                                            EXHIBIT 2
 2                                 UK Related Companies
 3
 4         Company
           Ace Media Group Ltd
 5         Alpha Corporate Ventures Ltd
           Apres Vous Media Ltd
 6
           Based Capital Ltd
 7         Capstone Capital Solutions Ltd
           Clik Trix Ltd
 8         Crest Capital Ventures Ltd
 9         Digital X Solutions Ltd
           Exclusive Media Group Ltd
10         Empire Partners Ltd
           Energy Tomorrow Ltd
11
           Fortune Ventures Ltd
12         Future Hold Ventures Ltd
           Future Precision Ltd
13         G Force Max Ltd
14         Grand Assets Ventures Ltd
           Horizon Media Partners Ltd
15         Interzoom Capital Ltd
           Lead Blast Ltd
16         Lion Capital Solutions Ltd
17         Maverick Pro Ltd
           Mountain Venture Solutions Ltd
18         New Idea Group Ltd
19         Nutra First Ltd
           Nutra Global Ltd
20         Omega Assets Ltd
           Online Product Group Ltd
21         Precision Tactic Group Ltd
22         Rendezvous IT Ltd
           Sky Blue Media Ltd
23         Snowdrift Solutions Ltd
           Tactic Solutions Ltd
24
           Top Quality Group Ltd
25         Virtual Media Solutions Ltd
           Visitron Capital Ltd
26         Web Media Depot Ltd
27         Zoom Media Ltd

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                                              Ex-2
